        Case 1:21-cr-00222-TFH Document 97-2 Filed 01/23/23 Page 1 of 2



Impact Statement:

         On Jan 6, 2021 you decided to follow former President Trump down a dark path with
many other misguided miscreants. I really would like know how someone can be so easily
duped into doing the dirty work of another with no facts, no potential rewards, and a high
likelihood of facing serious repercussions for one’s actions. Was it fun? Did you really think you
would be rewarded for your idiotic efforts?
         Over two years have passed since your actions led to the death of my brother. Did you
think you would wind up here, in this court room after being involved in the first insurrection in
U.S. History? Did you think you would bask in the glory of Trump’s stupidity? I wish I were not
in the same room as you as you make me physically sick. Your actions that day led to the death
of my kid brother who was by any measure more of man than you will ever hope to be.
         Not a day goes by where I am not reminded of your actions. I start every day by coming
down the stairs of my home and seeing a painting of Brian in his U.S.C.P., uniform, a slight
smile on his face reminding me of what my family and our nation has lost. He was 42, far too
young to die, especially due to the actions of a madman and sycophant followers. After looking
at the painting for a moment, I turn on the morning news before work. More often than not, I
am reminded again of your actions with some bit of news on Trump, the Jan 6th Committee, or
another piece on the events of Jan 6th in which you willingly participated with misplaced rage
and a cultish desire to follow your narcissist in chief, willingly attacking Brian and his fellow
officers who was simply doing their job protecting the Capitol Building and those within it on a
day that has been one of peaceful transition since our country was founded.
         Brian was a U.S.C.P. officer for 12 years and not once did he have to deal with someone
such as yourself and your mindless fury that day. Before he became a U.S.C.P. officer, he
served honorably in the Air National Guard overseas where he faced all kinds of dangers as
part of his duties. He managed to survive that experience physically unscathed and went on to a
career in law enforcement at the United States Capitol where he continued to protect our
country. After twelve years as a United States Capitol Police Officer, his fate was sealed, not by
any foreign enemy, but by the actions of you and your loathsome co-conspirators that day.
         Your selfish actions have caused more pain than you can ever imagine. My family is a
wreck and none of us have been even remotely unscathed as the results of your actions that
day. Brian’s coworkers are still reeling from his death. I myself have been both physically and
emotionally damaged to the point where I left a great job I loved as I could no longer handle
being in the high adrenaline environment that went with the job. Thanks to you, I now suffer
from ulcers as every reminder of Brian’s death still hits me like a hammer. I have lapses in
memory which I never had before which also make it much harder to function at work and at
home.
         I also suffer every day seeing what you have done to my family, knowing you took away
a son and a brother, a friend and a coworker, and a gentle soul who chose the path of
protecting others instead of choosing another, easier path. He was the youngest of three
siblings, ten years my junior and should have easily outlived me as he had a better lifestyle, was
in great physical shape, and took great care of himself.
         I have seen my parents appear to age a decade at least in the past two years. I see my
brother Ken suffering in his own way and the face I see in the mirror is not the same one I
became used to seeing every morning. Where I used to see a face with a small grin, full head
of hair, and clear bright eyes staring back at me, I now see a balding, greying face with new
wrinkles and more mornings than not, a haunted look due to poor sleep and uneasy dreams.
         Your participation in the Jan 6th insurrection took away more than you can ever
understand. Whatever sentence the judge gives you today will not be long enough or severe
enough for my satisfaction as our laws are far more lenient than your actions were towards
Brian and the other officers of the U.S.C.P and the D.C. Metro Police you attacked on Jan 6th. I
         Case 1:21-cr-00222-TFH Document 97-2 Filed 01/23/23 Page 2 of 2



hope you have a long time behind bars to think about your actions and how they affected
others. Your deviant behavior on that day has altered the lives of me, my family, our extended
family, and the nation.

I would like to thank the court for allowing me to voice my thoughts.

Sincerely,

Craig Sicknick
